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            8
                                       UNITED STATES DISTRICT COURT
            9
                                      CENTRAL DISTRICT OF CALIFORNIA
          10
                                                 SOUTHERN DIVISION
          11
          12     OPTUMRX, INC., as successor by            CASE NO. 8:22-cv-00468-FLA (JDEx)
                 merger to Catamaran Corporation, and
          13     OPTUMRX, INC. in its own right,           OPTUMRX, INC.’S OPPOSITION TO
                                                           RESPONDENTS’ MOTION TO STAY
          14                       Petitioner,

          15           v.
                                                           Judge: Hon. Fernando L. Aenlle-Rocha
          16     A&S DRUGS LLC, et al.,
                                                           Lead Case No. 8:22-cv-00468-FLA
          17                       Respondents.            (JDEx)

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            1                                      I.   INTRODUCTION
            2          The Federal Arbitration Act requires courts to “move the parties to an arbitrable
            3    dispute out of court and into arbitration as quickly and easily as possible.” Moses H.
            4    Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 22 (1983). Stays are
            5    disfavored because they “frustrate[] the statutory policy of rapid and unobstructed
            6    enforcement of arbitration agreements.” Id. at 23 (holding that trial court abused its
            7    discretion in granting a stay).
            8          Respondents have not met their burden in seeking to stay OptumRx’s petition to
            9    compel arbitration. In fact, Respondents’ motion addresses only one of the three stay
          10     factors identified by the Ninth Circuit. Respondents fail to argue that they would
          11     suffer any prejudice absent a stay, which is a touchstone criterion for granting a stay.
          12     This is reason enough to deny their motion.
          13           Further, Respondents claim a stay is warranted because two state-court cases—
          14     Platt, LLC v. OptumRx, Inc., No. A163061 (Cal. Ct. App.) and Copper Bend
          15     Pharmacy, Inc. v. OptumRx, Inc., No. 5-22-0211 (Ill. App. Ct.)—“could preclude”
          16     OptumRx from relitigating certain issues with respect to its arbitration agreements.
          17     Mot. at 16. But collateral estoppel cannot possibly apply. Both the parties and the
          18     contracts in this case differ from those in Platt and Copper Bend. Indeed, a finding on
          19     unconscionability in an unrelated matter cannot bind different parties as a matter of
          20     law because unconscionability turns on the identity of the parties, their wealth and
          21     sophistication, the circumstances of contract formation, and other factors—all of which
          22     differ in this case. Further, offensive non-mutual collateral estoppel is inappropriate
          23     because several other courts have rejected unconscionability challenges to OptumRx’s
          24     arbitration agreements and compelled the parties to arbitrate. Respondents cannot
          25     cherry-pick decisions they like, and ignore the ones they don’t like, in a misguided
          26     attempt to invoke collateral estoppel. See Sandoval v. Superior Court, 140 Cal. App.
          27     3d 932, 944 (1983) (“There seems to be something fundamentally offensive about
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            1    depriving a party of the opportunity to litigate the issue again when he has shown
            2    beyond a doubt that on another day he prevailed.”).
            3          OptumRx respectfully requests that the Court deny Respondents’ motion to stay
            4    and permit the parties to complete briefing on OptumRx’s petition to compel
            5    arbitration—a briefing schedule that both parties agreed to just last month. Dkt. 14.
            6                                   II.    BACKGROUND
            7    A.    Respondents Are Parties to Two Contracts with OptumRx
            8          Respondents each operate one or more pharmacies that fill prescriptions for
            9    customers who are covered by various health plans. Respondents contracted with
          10     OptumRx to access its network of health plans and increase their customer base and
          11     revenues. Respondents’ relationship with OptumRx is governed by two contracts.
          12           First, all Respondents are parties to a Provider Agreement that gives them
          13     access to OptumRx’s network. See Arita Decl., Dkt. 26-4, Ex. D; id., Dkts. 21-1–21-
          14     28, Exs. E–FF. Nearly all Respondents use powerful contracting agents—called
          15     pharmacy services administrative organizations (“PSAOs”)—to negotiate their
          16     Provider Agreements with OptumRx. Arita Decl., Dkt. 26 ¶ 5; id., Dkt. 26-4, Ex. D.
          17     PSAOs are owned by multi-billion companies, including drug suppliers Cardinal
          18     Health, McKesson, and AmerisourceBergen. Arita Decl., Dkt. 26 ¶ 5. PSAOs have
          19     substantial bargaining power vis-à-vis OptumRx and negotiate the best possible terms
          20     for their member pharmacies. See Hyman Decl., Dkt. 28 ¶¶ 17, 18. Indeed, 262 of the
          21     267 Respondents in this case used PSAOs to negotiate their Provider Agreements—all
          22     of which expressly state that the PSAOs are contracting agents for Respondents. See
          23     generally Arita Decl. Dkt. 26-4, Ex. D; id., Dkts. 21-1–21-23, Exs. E–AA. The other 5
          24     pharmacies negotiated their own Provider Agreements directly with OptumRx. Id.,
          25     Dkt. 26 ¶ 50.
          26           Second, all Respondents are bound by the OptumRx Provider Manual, which
          27     explains how pharmacies submit claims and get paid for their claims. Here, all
          28     Respondents have asserted breach-of-contract claims against OptumRx based on the

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            1    Provider Manual, thus conceding they are parties to that contract. Holecek Decl.,
            2    Dkts. 25-1–25-2, Exs. A–B.
            3           OptumRx updates the Provider Manual from time to time, and notifies all
            4    Respondents and their PSAOs of each update. Arita Decl., Dkt. 26 ¶ 14. Each
            5    updated version of the Provider Manual supersedes all prior versions. Id., Dkt. 26-1,
            6    Ex. A at 12; Dkt. 26-2, Ex. B at 16; Dkt. 26-3, Ex. C at 114.
            7    B.     Respondents’ Contracts with OptumRx Require Arbitration
            8           All relevant versions of the Provider Manual include a dispute resolution
            9    provision, which explains the steps the parties must take if a dispute arises. Initially,
          10     “the parties will work in good faith . . . to resolve any and all issues, disputes, or
          11     controversies between them.” Arita Decl., Dkt. 26-2, Ex. B at 25. “[T]he party
          12     asserting the Dispute shall provide written notice to the other party identifying the
          13     nature and scope of the dispute.” Id. “If the parties are unable to resolve the Dispute
          14     within thirty (30) days after such notice is provided, then either party may request in
          15     writing a meeting or telephone conference to resolve the Dispute.” Id. And “if a
          16     representative of [a] party . . . certifies in writing that . . . (i) the Dispute was not
          17     resolved after faithfully following the procedures” or “(ii) the other Party to the dispute
          18     did not fully comply with the procedures,” the “party may commence an arbitration.”
          19     Id.
          20            All but one of the Provider Agreements also include arbitration provisions that
          21     are binding on Respondents. See Arita Decl., Dkts. 21-1–21-2, 21-4–21-28, Exs. E–F,
          22     H–FF. Only one Provider Agreement (with a PSAO named Elevate) does not contain
          23     an arbitration agreement. Id., Dkt. 21-3, Ex. G. But the Elevate Provider Agreement
          24     states that the Provider Manual (which does include an arbitration agreement) is
          25     binding on its member pharmacies. Id., Arita Decl., Dkt. 21-3, Ex. G at 245.
          26     C.     Procedural History
          27            In December 2021, Respondents notified OptumRx of a dispute over
          28     OptumRx’s reimbursement of prescription drugs. Holecek Decl., Dkt. 25-1, Ex. A; id.,
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            1    Dkt. 25-2, Ex. B. The parties met and conferred (as required by the Provider Manual’s
            2    dispute-resolution provision) but could not resolve their disputes. OptumRx informed
            3    Respondents of their obligation to arbitrate their disputes. But Respondents refused to
            4    arbitrate and stated they would only resolve the parties’ disputes in court. Id., Dkt. 25
            5    ¶ 5.
            6           OptumRx filed petitions to compel arbitration in this Court between March 29,
            7    2022 and March 31, 2022. Dkt. 24 at 9. Upon request from the Court, the parties met
            8    and conferred regarding consolidation of OptumRx’s petitions and a briefing schedule.
            9    At no time did Respondents ever disclose any plans to stay this case—either to
          10     OptumRx or the Court. After the parties submitted their joint report and stipulation
          11     (which, again, never mentioned a stay), the Court consolidated OptumRx’s petitions
          12     and entered a briefing schedule: OptumRx’s consolidated supporting memorandum
          13     was due on May 20, 2022, Respondents’ opposition is due on July 19, 2022,
          14     OptumRx’s reply is due on August 16, 2022, and the hearing will be held on
          15     September 9, 2022. Dkt. 18.
          16            On June 10, 2022, Respondents filed a motion to stay the proceedings pending
          17     two appeals involving different pharmacies in different courts. Dkt. 39.
          18                                   III.   LEGAL STANDARD
          19            A district court determines whether to exercise its “discretionary authority to
          20     stay proceedings” by weighing “the competing interests which will be affected by the
          21     granting or refusal to grant a stay.” Heritage Provider Network, Inc. v. Cmty. Fam.
          22     Care Med. Grp. IPA, Inc., 2021 WL 4184908, at *1 (C.D. Cal. July 23, 2021) (quoting
          23     Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005)). “Among those
          24     competing interests are the possible damage which may result from the granting of a
          25     stay, the hardship or inequity which a party may suffer in being required to go forward,
          26     and the orderly course of justice measured in terms of the simplifying or complicating
          27     of issues, proof, and questions of law which could be expected to result from a stay.”
          28     Id. (quoting Lockyer, 398 F.3d at 1110).

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            1          “In general, the party seeking a stay bears the burden of establishing that a stay
            2    is appropriate.” Morales v. Lexxiom, Inc., 2010 WL 11507515, at *11 (C.D. Cal. Jan.
            3    29, 2010). “[I]f there is even a fair possibility that the stay . . . will work damage to
            4    some one else, the stay may be inappropriate absent a showing by the moving party of
            5    hardship or inequity.” Dependable Highway Express, Inc. v. Navigators Ins. Co., 498
            6    F.3d 1059, 1066 (9th Cir. 2007) (citation and quotation marks omitted). And a “stay
            7    should not be granted unless it appears likely the other proceedings will be concluded
            8    within a reasonable time,” such that the stay is not “indefinite in nature.” Id. (citations
            9    omitted).
          10                                        IV.    ARGUMENT
          11           As a threshold matter, Respondents incorrectly suggest that OptumRx’s petition
          12     is unripe because OptumRx “preemptively seeks to compel arbitration of claims that
          13     have yet to be asserted.” Mot. at 7; see also Mot. at 2. OptumRx’s petition is ripe
          14     under both the FAA and the parties’ agreement.
          15           Under the FAA, a “party aggrieved by the alleged failure, neglect, or refusal of
          16     another to arbitrate under a written agreement for arbitration may petition any United
          17     States district court . . . for an order directing that such arbitration proceed[.]” 9 U.S.C.
          18     § 4. Where, as here, a party refuses to abide by an arbitration agreement, the dispute is
          19     ripe. The refusing party has effectively breached the agreement, and the non-
          20     breaching party may petition the court for an order directing both parties to resolve
          21     their dispute in arbitration. See, e.g., Emp’rs Ins. Co. of Wausau v. Hartford, 2018 WL
          22     6330425, at *1–*2 (C.D. Cal. Dec. 3, 2018). OptumRx’s petition is not “preemptive”
          23     under the FAA. See Mot. at 7.
          24           Further, arbitration is the next step in the parties’ dispute-resolution protocol.
          25     Under the Provider Manual, the parties must resolve their disputes by giving notice of
          26     any claims, then engaging in informal dispute resolution, and then arbitrating. Supra
          27     at 7. Respondents followed the first two steps of that protocol, but then refused to
          28     arbitrate and stated they would only resolve their disputes in court. Supra at 7–8.

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            1    There is nothing preemptive about requiring the parties to complete the dispute-
            2    resolution steps they agreed to.
            3          In any event, Respondents have not carried their burden to stay this case. Courts
            4    in this Circuit apply three “factors described by the Ninth Circuit in Lockyer: (1) the
            5    possible damage which may result from the granting of a stay, (2) the hardship or
            6    inequity which a party may suffer [if the case is allowed] to go forward, and (3) the
            7    orderly course of justice measured in terms of the simplifying or complicating of
            8    issues, proof, and questions of law which could be expected to result from a stay.”
            9    Peck v. Cnty. of Orange, 528 F. Supp. 3d 1100, 1106 (C.D. Cal. 2021) (quoting
          10     Lockyer, 398 F.3d at 1110) (quotation marks omitted). Respondents address only one
          11     of those factors—but all three militate against a stay.
          12     A.    The “Orderly Course of Justice” Does Not Warrant a Stay
          13           Congress’s “clear intent” in the FAA was to “move the parties to an arbitrable
          14     dispute out of court and into arbitration as quickly and easily as possible.” Moses H.
          15     Cone Mem’l Hosp., 460 U.S. at 22. Accordingly, the FAA “call[s] for an expeditious
          16     and summary hearing, with only restricted inquiry into factual issues[.]” Id.; see also
          17     Preston v. Ferrer, 552 U.S. 346, 357 (2008) (holding that “[a] prime objective of an
          18     agreement to arbitrate is to achieve streamlined proceedings and expeditious results,”
          19     and ruling that the FAA preempted a state-law rule that would have required an
          20     arbitrable dispute to be heard by an agency first).
          21           When a party has petitioned to compel arbitration, a stay “frustrate[s] the
          22     statutory policy of rapid and unobstructed enforcement of arbitration agreements.”
          23     Moses H. Cone Mem’l Hosp., 460 U.S. at 23. Accordingly, “stays of arbitration are
          24     disfavored.” In re Cintas Corp. Overtime Pay Arbitration Litig., 2009 WL 1766595, at
          25     *5 (N.D. Cal. June 22, 2009).
          26           Here, Respondents offer only one reason why they believe a stay would further
          27     the “orderly course of justice”—they claim that the pending appeals in Platt and
          28     Copper Bend “could” preclude OptumRx from relitigating certain issues in this case.

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            1    Mot. at 16. Respondents do not cite a single case—from any jurisdiction in the
            2    country—in which a court stayed a petition to compel arbitration because of the
            3    possibility that a different case might have preclusive effect. And Respondents’
            4    superficial collateral-estoppel analysis is wrong—neither Platt nor Copper Bend will
            5    have preclusive effect in this case.
            6            1.    The Platt and Copper Bend Appeals Do Not Involve Identical Issues
            7            “In a diversity action, the court applies the collateral estoppel and choice-of-law
            8    rules of the forum state.” Burgess v. Tesoro Refining and Marketing Co., 2010 WL
            9    11553015, at *1 (C.D. Cal. Dec. 8, 2010). Under California law, courts determine the
          10     preclusive effect of judgments based on the law of “the state where it was made[.]”
          11     Cal. Civ. Proc. Code § 1913(a). Thus the preclusive effect of Platt, if any, would be
          12     based on California law, and Copper Bend’s would be based on Illinois law.
          13             Under both California and Illinois law, a prior judgment can be given collateral
          14     estoppel effect only if the issue sought to be precluded is “identical to that decided in a
          15     former proceeding.” Lucido v. Superior Court, 51 Cal. 3d 335, 341 (1990); accord
          16     American Family Mutual Insurance Co. v. Savickas, 193 Ill. 2d 378, 387 (2000).1 An
          17     issue is identical for collateral estoppel purposes if “the same general legal rules
          18     govern both cases and . . . the facts of both cases are indistinguishable as measured by
          19     those rules.” 18 Charles Alan Wright & Arthur R. Miller, Federal Practice and
          20     Procedure § 4425 (3d ed.).
          21
                  1
          22          The remaining requirements under California law are that the identical issue was
                      “actually litigated in the former proceeding,” “necessarily decided in the former
          23          proceeding,” and “final and on the merits”; and “the party against whom preclusion
          24          is sought [is] the same as, or in privity with, the party to the former proceeding.”
                      Lucido, 51 Cal. 3d at 341. Illinois law similarly requires a final judgment on the
          25          merits and that the party against whom the estoppel is asserted be a party or in
          26          privity with a party to the prior adjudication. Savickas, 193 Ill. 2d at 387. Since the
                      issues here are not identical, collateral estoppel does not apply. OptumRx reserves
          27          all arguments regarding the other collateral-estoppel factors. For example, because
          28          the Platt and Copper Bend appeals have not been decided, it is impossible to tell
                      whether any issues in those cases were “necessarily decided.”
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            1          Here, the issues in Platt and Copper Bend are far from identical to the issues in
            2    this case. Indeed, as a general matter, unconscionability disputes are never identical
            3    because unconscionability turns on the circumstances of the parties (including, for
            4    example, their sophistication, wealth, and size). In Flores v. Transamerica HomeFirst,
            5    Inc., 93 Cal. App. 4th 846, 852 (2001), the court held that the defendant was not
            6    collaterally estopped from arguing an arbitration agreement was enforceable, even
            7    though the agreement was “virtually identical” to an agreement another court had
            8    found unconscionable in a prior case with different plaintiffs. The court held that “if
            9    the relevant facts in the two cases are separable, even though they be similar or
          10     identical, collateral estoppel does not govern the legal issues which recur in the second
          11     case”—even if “instrument[s] or transaction[s]” are “identical.” Id. Because the
          12     documents “were signed by different parties under different circumstances,” collateral
          13     estoppel did not apply. Id.
          14           Here, Platt and Copper Bend cannot have preclusive effect for at least three
          15     reasons:
          16           First, the parties are different. None of the Respondents in this case is a plaintiff
          17     in Platt or Copper Bend. And pharmacies in general are not similarly situated. Some
          18     of the Respondents in this case operate a single pharmacy location. Others own and
          19     operate dozens of pharmacies. See Arita Decl., Dkt. 26-4, Ex. D. Many Respondents
          20     had PSAOs owned by multi-billion-dollar companies negotiate their contracts with
          21     OptumRx, while five Respondents negotiated their own contracts. Arita Decl., Dkt. 26
          22     ¶ 50. And some Respondents appear to have entered into franchise relationships with
          23     PSAOs in order to take even greater advantage of PSAOs’ sophistication and
          24     bargaining power. Hyman Decl., Dkt. 28 ¶ 21 & n.17 (explaining that Medicine
          25     Shoppe and Medicap brands are franchise programs offered by Cardinal Health); Arita
          26     Decl., Dkt. 26-4, Ex. D (showing that a number of Respondents contracted with
          27     Medicine Shoppe and Medicap).
          28           Because Respondents vary in terms of their sophistication, wealth, and size, and

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            1    the circumstances under which they contracted with OptumRx also vary, the decisions
            2    in Platt and Copper Bend cannot have preclusive effect, even if the contracts were
            3    identical (and they were not). See Flores, 93 Cal. App. 4th at 851–52; Hall v. AT & T
            4    Mobility LLC, 608 F. Supp. 2d 592, 601 (D.N.J. 2009) (collateral estoppel did not
            5    apply even though “multiple California courts ha[d] found [the] provision and others
            6    like it to be unconscionable,” because “[t]he finding that a class waiver provision is
            7    unconscionable is fact-specific” and thus there was “no ‘identity of issues’”).
            8            Second, the arbitration agreements in the relevant Provider Manuals are different
            9    between the cases. In this case, OptumRx moved to compel arbitration under the 2022
          10     Provider Manual. By contrast, Platt involves the 2016–2020 versions of the Provider
          11     Manual and Copper Bend involves the 2015–2020 versions of the Provider Manual.
          12     The 2022 version differs in several ways from those earlier versions. For the Court’s
          13     convenience, OptumRx has attached Exhibit A—a redline comparison showing
          14     differences between the 2015 and 2022 arbitration provisions. For example, the
          15     severability provision has been revised.2 Further, the 2022 version provides for
          16     different discovery procedures. Arita Decl., Dkt. 26-2, Ex. B at 26. And the
          17     delegation provision has been updated. Id. at 25. These contract provisions relate
          18     directly to Respondents’ unconscionability challenges; accordingly, rulings in Platt
          19     and Copper Bend will not have preclusive effect. See Duran v. AT & T Corp., 2001
          20     WL 1334280, at *11 (S.D. Ohio Aug. 22, 2001) (no collateral estoppel because the
          21     first case was based on an earlier version of the agreement, which was subsequently
          22     revised, and thus “the different contract terms in the . . . later agreements were not
          23     actually raised and litigated” in the prior case).
          24             Respondents argue that the 2015–2020 Provider Manuals apply to their claims
          25
          26      2
                      In Platt and Copper Bend, the plaintiffs argue that the parties’ agreement to
          27          delegate was not clear because the severability provision contains one reference to a
                      “court” potentially deciding whether the arbitration proceeding is “binding.” The
          28          severability provision in the 2022 Provider Manual contains no such language.
                      Arita Decl., Dkt. 26-2, Ex. B at 27.
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            1    in this case. Mot. at 7–8, 11. But that is incorrect. The 2022 Provider Manual
            2    supersedes all prior versions and applies to “any and all issues.” Arita Decl., Dkt. 26-
            3    2, Ex. B. at 25. That means it applies to all of the parties’ disputes, even claims that
            4    already accrued. See Salgado v. Carrows Rests., 33 Cal. App. 5th 356, 361 (2019);
            5    Franco v. Greystone Ridge Condo., 39 Cal. App. 5th 221, 228–30 (2019) (arbitration
            6    provision covering “any and all claims” included “already accrued claims” because
            7    there was “no language containing a limitation or restriction based on the age of
            8    covered claims”). Respondents rely on a narrow exception to that rule that applied
            9    when one party breached the covenant of good faith and fair dealing by selectively
          10     modifying an arbitration agreement to a contract after claims had been filed. Compare
          11     Avery v. Integrated Healthcare Holdings, 218 Cal. App. 4th 50, 61–63 (2013), with
          12     Sanfilippo v. Match Group, 2021 WL 4440337, at *3 (9th Cir. 2021). That is not what
          13     happened here, and the 2022 Provider Manual applies to all the parties’ claims.
          14           Even under Respondents’ incorrect view of the law, the 2015–2020 Provider
          15     Manuals would only apply (at most) to claims that accrued in 2015–2020.
          16     Respondents have submitted reimbursements to OptumRx since 2020, including in
          17     2022. Bates Decl., Dkt. 27-1, Ex. A. Respondents do not contend that the 2015–2020
          18     Provider Manuals at issue in Platt and Copper Bend have any bearing on claims
          19     arising in 2021 and 2022.
          20           Third, the parties’ contracts also consist of Provider Agreements, which PSAOs
          21     negotiated on behalf of nearly all Respondents. Supra at 6. Since the Provider
          22     Agreements are bargained for as part of arms-length negotiations, the terms vary
          23     depending on the PSAO a pharmacy contracts with. Arita Decl., Dkt. 26 ¶ 17. While
          24     a number of the 267 Respondents here contracted with the same PSAOs as the
          25     pharmacies in Platt and Copper Bend, others contracted with different PSAOs, such as
          26     Innovatix, Hometown Pharmacies, and Focus Script. See Arita Decl., Dkt. 26-4, Ex.
          27     D. Thus, this case involves Provider Agreements that are not at issue in Platt and
          28     Copper Bend.

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            1          Respondents ignore the important differences in parties, their circumstances, and
            2    the contract language at issue in Platt and Copper Bend and insist there are several
            3    “issues” that overlap. But collateral estoppel will not apply to any of those issues.
            4          Delegation. In determining whether parties agreed to delegate questions of
            5    arbitrability to an arbitrator, courts look at the parties’ agreement to delegate, and
            6    analyze both the provisions and the surrounding context to discern intent to delegate.
            7    See Meadows v. Dickey’s Barbecue Rests., 144 F. Supp. 3d 1069, 1078 (N.D. Cal.
            8    2015) (inquiry “should first consider the position of th[e] parties,” including their
            9    sophistication). Therefore, even if Platt or Copper Bend finds that the parties in those
          10     cases did not delegate threshold issues of arbitrability to an arbitrator, the inquiry in
          11     this case would involve different parties, different circumstances, and different
          12     delegation provisions in the relevant agreements.
          13           Unconscionability. Determining whether an agreement to arbitrate is
          14     unconscionable (which OptumRx maintains is for the arbitrator, not the Court) is also a
          15     fact-based, party-specific inquiry. Grabowski v. Robinson, 817 F. Supp. 2d 1159, 1181
          16     (S.D. Cal. 2011) (unconscionability analysis is party-specific). Under California law,
          17     there must be both procedural and substantive unconscionability, and the analysis of
          18     both requirements demands an inquiry into the parties and their relationship. For
          19     example, in assessing procedural unconscionability, courts determine whether a
          20     contract is adhesive by examining the relative bargaining power of each party (and
          21     their agents, where applicable). Madden v. Kaiser Found. Hospitals, 17 Cal. 3d 699,
          22     711–12 (1976). Similarly, in assessing substantive unconscionability, whether a
          23     forum-selection clause is unconscionable depends on whether the party resisting the
          24     forum can show the forum would be unable to accomplish substantial justice in their
          25     circumstances. Ramos v. Superior Court, 28 Cal. App. 5th 1042, 1067 (2018)
          26     (inconvenience and expense of travelling to agreed-upon forum was not enough to
          27     make forum selection unconscionable). Because unconscionability is a fact-based,
          28

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            1    party-specific inquiry, any unconscionability findings in Platt or Copper Bend would
            2    have no collateral estoppel effect here.
            3          Severability. Whether a court should sever any unconscionable terms is also
            4    fact-based and party-specific because it is intrinsically linked to the unconscionability
            5    analysis. Courts should sever unless the presence of numerous unconscionable terms
            6    demonstrates “the central purpose of the contract is tainted with illegality.”
            7    Armendariz v. Foundation Health Psychcare, 24 Cal. 4th 83, 124 (2000). Otherwise,
            8    “severance and restriction are appropriate.” Id. Since the severance analysis turns on
            9    the unconscionability of the agreement, any findings in Platt or Copper Bend would
          10     not collaterally estop OptumRx here.
          11           Agency. Respondents argue that whether the contracts are enforceable under the
          12     principles of agency or ratification are common legal issues. Mot. at 3–4. But
          13     determining whether an agency relationship exists is also a fact-based, party-specific
          14     inquiry. Spencer S. Busby, APLC v. BACTES Imaging Sols., LLC, 74 Cal. App. 5th 71,
          15     82 (2022) (both the “existence of an agency relationship” and “question of whether an
          16     agent acted on behalf of a principal” are questions of fact). OptumRx has submitted
          17     substantial evidence—including an expert report—explaining why the Respondents in
          18     this case have an agency relationship with the PSAOs that expressly negotiated
          19     contracts on their behalf.
          20           Respondents’ suggestion to the contrary—that PSAOs are not their agents—has
          21     no factual basis. The Provider Agreements themselves state that the PSAOs are
          22     Respondents’ agents. For example, the Provider Agreement with EPIC (one of the
          23     PSAOs involved in this case) states that EPIC “has the authority to enter into this
          24     Agreement as agent for and on behalf of [its pharmacy members]” and that each
          25     “Pharmacy agrees to and is bound by all [EPIC] obligations set forth in this
          26     Agreement.” Arita Decl., Dkt. 20-5, Ex. H at 299. PSAOs also hold themselves out to
          27     the public as contracting agents for their pharmacies. For example, Health Mart Atlas
          28     (which represents 6,600 member pharmacies) states that its “contract review process

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            1    assesses four major areas (plan components, financial terms, performance
            2    opportunities and contract language), ensuring Health Mart Atlas is entering contracts
            3    that are best for [its] member pharmacies’ business,” and Elevate claims that its
            4    “proprietary pharmacy analytics system” allows it to “negotiate smarter payer
            5    contracts[.]” Hyman Decl., Dkt. 28 ¶¶ 37, 39. OptumRx has submitted sworn
            6    testimony demonstrating that “[w]hen a PSAO negotiates a Provider Agreement with
            7    OptumRx, it is OptumRx’s understanding that the PSAO is negotiating on behalf of all
            8    of their affiliated pharmacies that are members of that PSAO.” Arita Decl., Dkt. 26 ¶
            9    16. And Professor David Hyman analyzed the relationship between pharmacies and
          10     PSAOs and explained why it is indisputable that they have an agency relationship. See
          11     Hyman Decl., Dkt. 28 ¶ 18 (“PSAOs primarily function as agents for independent
          12     pharmacies in dealing with PBMs”).
          13           Respondents offer no evidence that they lack an agency relationship with their
          14     PSAOs. To the extent Respondents do offer such evidence in the future, it would (at
          15     most) create a factual dispute that cannot be resolved by looking at prior cases
          16     involving different groups of pharmacies and PSAOs.
          17           Retroactivity. Respondents list “Retroactivity” as one of the legal issues that the
          18     cases may have in common. Mot. at 3. This is an imprecise definition of the relevant
          19     legal issue. As explained above, the application of the 2022 Provider Manual to all of
          20     Respondents’ claims will likely turn on whether Respondents can prove that OptumRx
          21     breached the covenant of good faith and fair dealing in updating the contract (it did
          22     not). Supra at 13–14. That question is not before the courts in Platt and Copper Bend
          23     (nor could it be, as the 2022 Provider Manual is not at issue in those cases). Further,
          24     whether a party violated the covenant of good faith and fair dealing is a fact-based,
          25     party-specific inquiry, and will not have collateral estoppel effect. See Hicks v.
          26     Progressive Cas. Ins. Co., 2014 WL 12610144, at *2 (C.D. Cal. Sept. 29, 2014);
          27     Maslo v. Ameriprise Auto & Home Ins., 227 Cal. App. 4th 626, 634 (2014) (“Under
          28

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            1    this factual scenario, a reasonable jury could find the insurer liable for breach of the
            2    covenant of good faith and fair dealing.”).
            3           Thus, none of the legal issues Respondents invoke to support their motion to
            4    stay will collaterally estop OptumRx, because the Platt and Copper Bend decisions do
            5    not involve any issues identical to those in this case.
            6          2.     Prior Decisions in Favor of OptumRx Preclude Collateral Estoppel
            7          Courts scrutinize offensive, non-mutual use of collateral estoppel with particular
            8    skepticism. Tennison v. California Victim Comp. & Gov’t Claims Bd., 152 Cal. App.
            9    4th 1164, 1180 (2007). That is because “even where the threshold requirements of the
          10     doctrine are satisfied, collateral estoppel must not be applied to preclude parties from
          11     presenting their claims or defenses unless it is clear that no unfairness results to the
          12     party being estopped.” Bajwa v. Metro. Life Ins. Co., 208 Ill. 2d 414, 433 (2004);
          13     accord Lucido, 51 Cal. 3d at 342–43.
          14           Offensive non-mutual collateral estoppel is “unfair to a defendant if the
          15     judgment relied upon as a basis for the estoppel is itself inconsistent with one or more
          16     previous judgments in favor of the defendant.” Parklane Hosiery Co. v. Shore, 439
          17     U.S. 322, 330 (1979). For example, in Nandorf, Inc. v. Applied Underwriters Captive
          18     Risk Assurance, the plaintiff sought to bar enforcement of a delegation clause in an
          19     arbitration agreement, citing two prior cases and arguing the defendant “ha[d] already
          20     litigated that issue and lost ‘at least two times.’” 410 F. Supp. 3d 882, 891 (N.D. Ill.
          21     2019). The district court rejected that argument, finding that collateral estoppel did
          22     “not apply,” because “the result of litigation involving [defendants’ agreement] ha[d]
          23     been mixed.” Id.
          24           Other decisions are in accord. See Appling v. State Farm Mut. Auto. Ins. Co.,
          25     340 F.3d 769, 776 (9th Cir. 2003) (no collateral estoppel because prior decision was
          26     “contrary to several other well-reasoned holdings in favor of [the defendant]”
          27     regarding interpretation of the same contractual provision); Hardy v. Johns-Manville
          28     Sales Corp., 681 F.2d 334, 346 (5th Cir. 1982) (holding that trial court improperly

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            1    applied collateral estoppel when multiple cases had reached different results);
            2    Harrison v. Celotex Corp., 583 F. Supp. 1497, 1503 (E.D. Tenn. 1984) (“It seems most
            3    inappropriate for this Court to pick out one case upon which the jury reached a verdict
            4    for the plaintiff, and accord it preclusive effect, and at the same time to ignore all the
            5    others in which equally competent juries have reached the opposite conclusion.”);
            6    Sandoval, 140 Cal. App. 3d at 944.
            7          Here, numerous courts have found for OptumRx on the same issues that
            8    Respondents identify in their stay motion.
            9          As to delegation, three courts have found that the same arbitration clause
          10     “expressly delegated” the “question of arbitrability” to arbitrators, contrary to the
          11     arguments of the plaintiffs in Platt and Copper Bend. AAMH Pharm. v. OptumRx,
          12     2019 WL 13152208, at *5 (Ventura Cnty. Sup. Ct. Apr. 22, 2019); accord Paduano v.
          13     Express Scripts, 55 F. Supp. 3d 400, 425 (E.D.N.Y. 2014) (enforcing same delegation
          14     clause); MHA, LLC v. Unitedhealth Grp., 2017 WL 1095036, at *5 (D.N.J. Mar. 23,
          15     2017) (analyzing same delegation clause in parent company UnitedHealth’s arbitration
          16     agreement and finding it “difficult to imagine a more clear and unmistakable
          17     agreement to arbitrate the issue of arbitrability” than this clause).
          18           Several courts analyzing OptumRx’s Provider Agreements have rejected the
          19     Platt and Copper Bend plaintiffs’ agency arguments. In Park Irmat Drug Corp. v.
          20     OptumRx, 152 F. Supp. 3d 127, 133–35 (S.D.N.Y. 2016), the court analyzed an
          21     OptumRx Provider Agreement and rejected the pharmacy’s argument that OptumRx
          22     had not proved agency. The Park Irmat court rejected a related argument, also raised
          23     by the plaintiffs in Platt and Copper Bend, that the Provider Agreements were not
          24     binding because the pharmacies had not seen the contract. The court found that the
          25     plaintiff was bound because an agent’s knowledge is imputed to the principal. Id. at
          26     135–36; see also AAMH Pharm., 2019 WL 13152208, at *5 (PSAOs negotiated
          27     Provider Agreements “on behalf of their respective Pharmacy Plaintiff principals
          28     pursuant to the express agency agreements”); Mission Specialty Pharm. v. OptumRx,

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            1    154 F. Supp. 3d 453, 456 (W.D. Tex. 2015) (finding that Provider Manual applied to
            2    dispute between pharmacy and OptumRx because pharmacy’s PSAO entered into
            3    contract with OptumRx).
            4          With respect to the applicable Provider Manual (and arbitration agreement), the
            5    court in Mission Specialty Pharmacy, 154 F. Supp. 3d at 461–63, rejected a
            6    pharmacy’s claim that it was not bound by a revised OptumRx Provider Manual.
            7          Further, the court in Paduano made numerous findings in favor of OptumRx. In
            8    addition to finding a clear and unmistakable delegation clause, see supra at 19, it found
            9    that the plaintiff had “not shown the arbitration clause [was] procedurally
          10     unconscionable to any degree,” and compelled arbitration. Paduano, 55 F. Supp. 3d at
          11     427. In addition, it determined that the agreement to arbitrate before a three-arbitrator
          12     panel was not unconscionable, nor was “the fact that Optum may unilaterally modify
          13     the terms of the Optum Provider Agreement, including the arbitration provision.” Id.
          14     at 426–27.
          15           Thus, multiple courts have ruled for OptumRx on the same issues identified in
          16     Respondents’ brief. Collateral estoppel is not appropriate in these circumstances.
          17     Accordingly, a stay would not result in any “simplifying or complicating of issues,
          18     proof, and questions of law.” Heritage Provider Network, 2021 WL 4184908, at *1.
          19           3.     This Court Will Have To Decide in the First Instance and As a
          20                  Matter of Federal Law the Effect of Viking River Cruises v. Moriana
                       The Supreme Court recently held in Viking River Cruises, Inc. v. Moriana that
          21
                 courts cannot invalidate arbitration agreements for prohibiting claim joinder. No. 20–
          22
                 1573, 2022 WL 2135491, at *10–12 (S. Ct. June 15, 2022). Specifically, courts
          23
                 “cannot condition the enforceability of an arbitration agreement on the availability of a
          24
                 procedural mechanism that would permit a party to expand the scope of the arbitration
          25
                 by introducing claims that the parties did not jointly agree to arbitrate.” Id. at *10.
          26
                 Consolidation “allows plaintiffs to unite a massive number of claims in a single-
          27
                 package suit” which “[a]rbitration is poorly suited” to handle. Id. at *11.
          28

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            1          The Platt and Copper Bend trial courts based several of their unconscionability
            2    findings on the arbitration agreements’ non-joinder provision. See Cuker Decl., Dkt.
            3    39-3, Ex. 1 at AA1536–37 (Platt); id., Dkt. 39-8, Ex. 4 at C2374–75 (Copper Bend).
            4    Viking River Cruises confirms those rulings were wrong. The Platt and Copper Bend
            5    trial court decisions also relied on the non-joinder provision’s purported
            6    unconscionability as proof that unconscionability “permeated” the agreement in
            7    refusing to sever any supposedly unconscionable provisions to save the parties’ core
            8    agreement to arbitrate. Cuker Decl., Dkt 39-3, Ex. 1 at AA1536–37 (Platt); id., Dkt.
            9    39-8, Ex. 4 at C2378–79 (Copper Bend). Since Respondents likely will raise similar
          10     arguments here, this Court will have to determine the impact of Viking River Cruises.
          11     And since this is an issue of federal law, not state law, this Court has no reason to wait
          12     for, or defer to, the state appellate court rulings (which may not even address the
          13     issue).
          14     B.    Respondents Have Not Established Clear Hardship Justifying a Stay
          15           Respondents acknowledge that any “hardship or inequity” they would suffer
          16     absent a stay is relevant to the stay analysis, yet they never argue they would be
          17     prejudiced absent a stay. Mot. at 12 (quoting Lockyer, 398 F.3d at 1110). “‘[I]f there
          18     is even a fair possibility that the stay . . . will work damage to some one else,’ the party
          19     seeking the stay ‘must make out a clear case of hardship or inequity.’” Lockyer, 398
          20     F.3d at 1112 (quotation marks omitted) (emphasis added). This is “[t]he most
          21     important factor,” F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 628 (6th Cir.
          22     2014)—yet Respondents do not address it.
          23           In any event, Respondents would suffer no hardship. Whether or not this case is
          24     stayed, Respondents ultimately will need to file an opposition brief to Respondents’
          25     petition to compel. If they file their brief before the appeals in Platt and Copper Bend
          26     are decided, as seems likely, they can later bring those decisions to the attention of this
          27     Court, as they have done before. See, e.g., OptumRx v. Copper Bend Pharmacy, Inc.,
          28     No. 8:20-cv-2145-FLA-JDE, Dkt. 77.
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            1          Further, “being required to defend a suit, without more, does not constitute a
            2    ‘clear case of hardship or inequity’” for the purpose of the stay analysis. Lockyer, 398
            3    F.3d at 1112; see also Youngblood v. CVS Pharm., 2021 WL 3188302, at *2 (C.D. Cal.
            4    May 25, 2021) (defendant’s “prospective cost of defending” lawsuit “does not
            5    constitute a ‘clear case of hardship of inequity’”). Indeed, the parties have not
            6    propounded any discovery in this case, and because the cases have been consolidated,
            7    Respondents only need to file a single brief in response to the petition to compel.
            8    Respondents do not even try to argue that drafting a single brief would constitute
            9    undue hardship.
          10           Respondents’ cases are inapposite. In Monster Energy Co. v. Integrated Supply
          11     Network, LLC, the court stayed the case for one month while the parties engaged in
          12     mediation. 2020 WL 13302381, at *2 (C.D. Cal. Oct. 14, 2020). The court
          13     emphasized that “[l]itigating a case that may be settled very shortly is not an efficient
          14     use of the Court’s or the parties’ resources,” and the “proposed mediation may well
          15     dispose of this case entirely.” Id. The parties here are not engaged in mediation.
          16     Louisiana Power & Light Co. v. City of Thibodaux involved Pullman abstention
          17     permitting the Louisiana Supreme Court to interpret a never-before-interpreted state
          18     statute. 360 U.S. 25, 27–31 (1959). Neither Pullman abstention nor novel
          19     interpretations of state law are at issue here. Lastly, in Collins v. D.R. Horton, Inc.,
          20     505 F.3d 874, 883 (9th Cir. 2007), the Ninth Circuit upheld an arbitration award
          21     finding the arbitrators did not manifestly disregard the law when they refused to apply
          22     collateral estoppel. The propriety of a stay was not at issue, and the portion cited by
          23     Respondents discussed the issue of finality of decisions for collateral estoppel purposes
          24     under federal law, which does not apply here.
          25     C.    OptumRx Would Be Damaged by a Stay
          26           OptumRx bargained for an expeditious dispute-resolution protocol that included
          27     an arbitration agreement. As the Ninth Circuit has explained, “one of the principal
          28     benefits of [a] bargained-for arbitration process” is “a speedy and efficient dispute
Gibson, Dunn &
Crutcher LLP                                                 24
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            1    resolution procedure.” Abernathy v. S. Cal. Edison, 885 F.2d 525, 529 n.15 (9th Cir.
            2    1989). When courts fail to expeditiously rule on petitions to compel arbitration, parties
            3    are “deprived” of those bargained-for rights. See id.; see also W. Emps. Ins. Co. v.
            4    Jefferies & Co., 958 F.2d 258, 260 (9th Cir. 1992) (“Western had a right to receive
            5    what it bargained for—arbitration according to the terms of its contract with
            6    Jefferies.”); Alascom, Inc. v. ITT N. Elec. Co., 727 F.2d 1419, 1422 (9th Cir. 1984)
            7    (“where an order grants a stay of arbitration, one party is deprived of the inexpensive
            8    and expeditious means by which the parties had agreed to resolve their disputes”).
            9          Here, Respondents and OptumRx have a dispute that is undisputedly covered by
          10     the broad arbitration agreements in the Provider Manual and Provider Agreements.
          11     And that dispute is significant. As OptumRx has alleged, the dispute with each
          12     Respondent puts more than $75,000 in controversy, for a sum total of over $20 million.
          13     Respondents have asserted that OptumRx’s reimbursement practices breach the
          14     parties’ agreements, and that those alleged breaches are continuing and Respondents
          15     continue to incur damages each day. In fact, OptumRx has paid an average of $1
          16     million per Respondent in 2022 alone. Bates Decl., Dkt 27 ¶ 6.
          17           OptumRx disagrees with Respondents’ claims, but OptumRx should not be
          18     subjected to indefinite uncertainty regarding its purported liability, particularly while it
          19     continues to process Respondents’ reimbursement claims and make substantial
          20     payments on a daily basis. OptumRx bargained for an expeditious dispute-resolution
          21     process, and Respondents are in breach of that agreement. Granting a stay would
          22     deprive OptumRx of its right to have this dispute expeditiously resolved in arbitration.
          23                                      V.     CONCLUSION
          24           For the foregoing reasons, OptumRx respectfully requests that this Court deny
          25     Respondents’ motion to stay these proceedings.
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Crutcher LLP                                                 25
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            1    Dated: June 17, 2022               GIBSON, DUNN & CRUTCHER LLP
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                                                    Attorneys for Petitioner, OptumRx Inc.
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